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                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION
                                      __________________________

UNITED STATES OF AMERICA,

                     Plaintiff,                                                     Case No. 1:20-CR-183

v.                                                                                  HON. ROBERT J. JONKER

ADAM DEAN FOX, et al.,

            Defendants.
______________________________/

                                                          ORDER

           The government alleges that Defendant Caserta joined a kidnapping conspiracy, and that

one overt action in furtherance of the conspiracy was his posting an encrypted video that urged his

co-conspirators to give any law enforcement officers they encounter during a reconnaissance one

chance to leave, “else they’re going to die. Period. That’s what it’s going to be, dude, because

they are the fucking enemy, period.” Superseding Indictment, ECF No. 172, at PageID.966;

Caserta Brief, ECF No. 242, at PageID.1310 (quoting video transcript).1 The posting was on



1
    The parties agree that the entire video transcript reads:

       And I'm telling you what, right now, man. I'm going to make this shit 100% clear, dude. If this shit goes
       down, okay? If this whole thing, you know, starts to happen, I'm telling you what, dude, I'm taken out as
       many of those motherfuckers as I can. Every single one, dude, every single one. And if you guys are
       going to give any of these motherfuckers a chance, any of these gang fucking criminal ass government
       thugs that rob people every day, if you're even going to give them a second to try to speak or tell their
       story, don't even fuck with me, dude. Don't even fuck with me.

       I have zero patience for immoral coward criminals. Okay? And guess what? I'm sick of being robbed
       and enslaved by the state, period. I'm sick of it. And these are the guys who are actually doing it. You
       know? So if if, you know, if if we're doing a recon or something and we come up on some of them, dude,
       you better not give them a chance. You either tell them to go right now, or else they're going to die.
       Period. That's what it's going to be, dude, because they are the fucking enemy, period.

Caserta Brief, ECF No. 242, at PageID.1310; Government Response, ECF No. 309, at PageID.1834.
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October 7, 2020, after the government says other alleged co-conspirators conducted actual

reconnaissance missions on the Governor’s vacation home. Superseding Indictment, ECF No.

172, at PageID.964-965. Defendant Caserta says that the video had nothing to do with any alleged

kidnapping and was simply his angry rant about law enforcement ticketing him for another traffic

infraction the day before he posted. He moves to exclude evidence of the October 7 video as

irrelevant, and unfairly prejudicial in any event. ECF Nos. 241, 242. Two co-defendants join the

motion. ECF Nos. 252, 253. The government opposes the motion. ECF No. 309.

       Rule 402 creates a general rule of admissibility for relevant evidence. Evidence is relevant

under Rule 401 if “(a) it has any tendency to make a fact more or less probable than it would be

without the evidence; and (b) the fact is of consequence in determining the evidence.” The video

at issue here is one of the alleged overt acts of the charged conspiracy, and so directly intertwined

as res gestae with the alleged wrongs in the case. Sometimes, even alleged wrongs outside the

scope of the charged wrongdoing may be relevant and admissible under Rule 404(b) to prove

“motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of

accident.” Relevant evidence of any type must still be excluded under Rule 403 “if its probative

value is substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” In the case of evidence relevant only under Rule 404(b), “whether any risk

of unfair prejudice substantially outweighs the evidence’s probative value” is one of three key

considerations the Court must weigh. United States v. Barnes, 822, F.3d 914, 920 (6th Cir. 2016).

However, Rule 404(b) “is a rule of inclusion rather than exclusion . . . .” United States v.

Blankenship, 775 F.2d 735, 739 (6th Cir. 1985).




                                                  2
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         The October 7 video easily clears the threshold of relevance, whether as part of the alleged

kidnapping conspiracy itself, or under Rule 404(b) to show intent, plan, preparation and motive.

The Superseding Indictment identifies the posting of this video as one overt act in furtherance of

the alleged kidnapping conspiracy, which makes it directly relevant to the charged wrongdoing in

the case. An overt act in furtherance of the conspiracy is one of the elements of the crime charged.

Moreover, even under Rule 404(b), the video would be probative of Defendant Caserta’s motive

for and intention to join the conspiracy, as well as his planning and preparation to bring about the

object of the conspiracy. The video consists of Defendant Caserta’s own words, which evince his

motivation and intent and appear to be consistent with earlier things Caserta said along the same

lines. Government Response, ECF No. 309, at PageID.1834-1837. The statements are also

probative of planning and preparation for the alleged conspiracy, again particularly when

considering similar statements defendant made regarding tactics he endorsed. Id.2

         Defendant argues that the video—even if relevant—must still be excluded under Rule 403

because it would confuse the jury with a diversion into Defendant Caserta’s interactions with law

enforcement officers issuing him traffic tickets. Caserta Brief, ECF No. 242, at PageID.1313. The

defense may certainly argue the video is nothing more than blowing off steam about a new traffic

ticket, but that goes to the weight of the evidence, not its admissibility. Any potential confusion

can readily be managed with jury instructions.

         Defendant also suggests the video should be excluded because the negative statements

about officers may offend jurors and unfairly tilt them against Defendant. Id. The statements are



2
  The Grand Jury charges that the video was posted as part of an encrypted chat for alleged co-conspirators.
Defendant’s original motion papers asserted that the video post was on Facebook, but a supplemental submission
indicates the defense cannot actually be sure about this. Defense Supplement, ECF No. 261. Regardless of how the
video was posted, no one contests that it was Defendant Caserta who did so, and that the video records his statements.
The method of posting may affect the weight of the evidence, but not its overall relevance to disputed issues in the
case.

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graphic, vulgar and negative, to be sure. But that does not make them unfairly prejudicial. “Unfair

prejudice ‘does not mean the damage to a defendant’s case that results from the legitimate

probative force of the evidence; rather it refers to evidence which tends to suggest decision on an

improper basis.’” United States v. Gibbs, 182 F.3d 408, 430 (6th Cir. 1999) (quoting United States

v. Bonds, 12 F.3d 540, 567 (6th Cir. 1993)). Courts routinely allow videos with vulgar language

and threats. See United States v. Sims, No. 19-20833, __ F.4th __, 2021 WL 3732266, at *4 (5th

Cir. Aug. 24, 2021) (noting that courts generally find that “explicit rap videos are probative and

outweigh substantial prejudice when the defendant performs the song, describes events closely

related to the crime charged, and the evidence is not cumulative.”). The video in this case, while

offensive, does not “so shock[] the conscience” that will lead to the jury convicting the Defendants

based on an improper purpose. United States v. Asher, 910 F.3d 854, 861-62 (6th Cir. 2018).

         Accordingly, the motion to exclude the October 7 Caserta video is DENIED.3

         IT IS SO ORDERED.

Dated: September 14, 2021                                /s/ Robert J. Jonker
                                                         ROBERT J. JONKER
                                                         CHIEF UNITED STATES DISTRICT JUDGE




3
  The case for exclusion is even weaker if entrapment becomes an issue for the jury. Entrapment requires proof of
both “(1) government inducement of the crime, and (2) lack of predisposition on the part of the defendant to engage
in criminal activity.” United States v. Al-Cholan, 610 F.3d 945, 950 (6th Cir. 2010). The video is strongly probative
on the predisposition issue. The Court does not rely on this in denying the present motion because it is not yet clear
whether entrapment will be part of the case. In arguing discovery motions, the defense has suggested it might be.
See, e.g., Caserta Discovery Brief, ECF No. 226, at PageID.1241 (supporting motion joined by Defendants Fox (ECF
No. 251) and Harris (ECF No. 253)); Franks CHS Brief, ECF No. 248-1, at PageID.1352 (supporting motion joined
by Defendants Croft (ECF No. 250), Fox (ECF No. 251), and Harris (ECF No. 253)). But whether the case presents
a jury issue of entrapment will be up to the Court after consideration of the anticipated and actual trial proofs. See
United States v. Khalil, 279 F.3d 358, 364 (6th Cir. 2002) (“To be entitled to an entrapment instruction, the defendant
must come forward with evidence to support both elements of the defense.”); see also United States v. Sadiqullah,
No. 20-6194, 2021 WL 3043271, at *6 (6th Cir. Jul. 20, 2021) (holding that the trial court did not abuse its discretion
in denying the defendant’s request for the entrapment jury instruction because the defendant failed to present
“sufficient evidence” of entrapment); United States v. Sutton, 769 F. App’x 289, 297-98 (6th Cir. 2019) (same).

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